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                                             November 3, 2021

The Honorable Margaret B. Seymour
Senior United States District Judge
83 Broad Street
Charleston, S.C. 29401

         Re:       U.S. v. Karl Henry Zerbst, Jr.
                   Criminal Case No. 2:21-CR-600-MBS
                   Request for the Court to Direct the Clerk to Open an Account
                   for Defendant and accept restitution and assessment deposits

Dear Judge Seymour:

Thank you for accepting the plea agreement earlier today.

As you may recall, pursuant to his plea agreement, Mr. Zerbst agreed to pay full amount of
restitution owed in this case, and he submitted a certified check to the Clerk today in the amount
of $246,689.99, as well as a $100 check for the assessment. However, the Clerk has informed
me that I need to request you to issue an order directing the Clerk to open an account for
defendant Zerbst in order for him to make the said restitution and assessment payments, and I
herein make that request.

Thank you for your consideration of this request.

We look forward to getting this matter concluded.

                                                Sincerely,

                                                Joseph P. Griffith, Jr.
cc:
allessandra.stewart@usdoj.gov
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Seymour.001.2021-11-03
